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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                      Plaintiff,
                                                15 Civ. 7433 (LAP)
-against-
                                                       ORDER
GHISLAINE MAXWELL,

                      Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of the letter from Ms. Maxwell’s

counsel (see dkt. no. 1191) requesting (i) limited

reconsideration of the Court’s order to unseal Ms. Maxwell’s

July 2016 deposition transcript at page 112, Line 17 through and

including page 113, Line 12 and (ii) clarification of the

Court’s ruling to unseal several other lines of that transcript.

    As to (i), Ms. Giuffre shall file any response to Ms.

Maxwell’s letter no later than 5:00 p.m. on January 27, 2021.

Ms. Maxwell may file any reply no later than January 29, 2021 at

noon.    In the interim, the parties shall proceed with the public

docketing of the materials ordered unsealed by the Court in its

January 19, 2021 ruling, except pages 112:17 through 113:12 of

Ms. Maxwell’s July 2016 deposition transcript (and portions of

any materials ordered unsealed that reference those lines of her




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testimony) until the Court rules on Ms. Maxwell’s request for

reconsideration.

    As to (ii), Ms. Maxwell asks for the Court’s confirmation

that the following lines of Ms. Maxwell’s July 2016 deposition

transcript should not be redacted: page 55:2; page 86:10; page

86:19-21; page 86:24; and page 91:21.       Those lines of testimony

should be unsealed.    Those portions of testimony were unsealed

already by the Court of Appeals, as reflected in the excerpt

annexed as Exhibit B to Ms. Maxwell’s Memorandum of Law in

Support of Objections to Unsealing Sealed Materials Related to

Docket Entries 231, 279, 315, 320, & 335.       (See Ex. B to Decl.

of Laura A. Menninger, dated Nov. 12, 2021 [dkt. no. 1150-2].)

    SO ORDERED.

Dated:    New York, New York
          January 26, 2021


                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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